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                     WHATSAPP INC. and FACEBOOK, INC.
            11

            12                                        UNITED STATES DISTRICT COURT

            13                                    NORTHERN DISTRICT OF CALIFORNIA

            14

            15       WHATSAPP INC., a Delaware corporation,                Case No. 4:19-cv-07123-PJH
                     and FACEBOOK, INC., a Delaware
            16       corporation,                                          DECLARATION OF YAEL RIEMER IN
                                                                           SUPPORT OF PLAINTIFFS’ OPPOSITION
            17                                                             TO DEFENDANTS’ MOTION FOR
                                        Plaintiffs,                        SANCTIONS
            18
                            v.                                             Date:
            19                                                             Time:
                     NSO GROUP TECHNOLOGIES LIMITED                        Courtroom:
            20       and Q CYBER TECHNOLOGIES LIMITED,                     Judge:     Hon. Phyllis J. Hamilton

            21                          Defendants.

            22

            23       I, Yael Riemer, declare:

            24              1.      I am an attorney with the law firm of Fischer, Behar, Chen, Well, Orion & Co., which

            25       represents Facebook, Inc. in various matters in Israel. The information in this declaration is based on

            26       my personal knowledge of this matter and information I obtained following a reasonable

            27       investigation of the events described below. If called as a witness, I could competently testify to the

            28
  COOLEY LLP
                                                                                              DECLARATION OF YAEL RIEMER
ATTO RNEY S AT LAW
 SAN FRA NCI S CO
                                                                      1.                       CASE NO. 4:19-CV-07123-PJH
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              1      truth of each statement.

              2             2.      On January 29, 2020, at the request of Julian Lamm at White & Case LLP, attorneys

              3      at our firm contacted the Central Authority in Israel by telephone regarding the status of Plaintiffs

              4      WhatsApp Inc. and Facebook, Inc.’s application for service under the Hague Convention in this

              5      litigation. The Central Authority instructed our firm to contact them by email. Attorneys at our firm

              6      then contacted the Central Authority on the same day by email.

              7             3.      On February 2, 2020, our firm had not yet received a response from the Central

              8      Authority to our firm's January 29 email. Attorneys at our firm followed up with a telephone call to

              9      the Central Authority. The Central Authority confirmed receipt of the email, but would not provide

            10       an estimated time period for a response.

            11              4.      On February 9, 2020, attorneys at our firm sent a formal letter to the Central

            12       Authority inquiring about the status of Plaintiffs’ application.

            13              5.      On February 16, 2020, our firm had not yet received a response to our firm's February

            14       9 letter. Attorneys at our firm followed up with another telephone call to the Central Authority,

            15       which again confirmed receipt but would not provide any additional information.

            16              6.      On February 25, 2020, our firm received a letter by email from the Central Authority

            17       that purported to identify deficiencies in Plaintiffs’ application. Attorneys at our firm translated the

            18       contents of that letter into English and forwarded those contents in an email to attorneys at White &

            19       Case LLP.

            20              7.      Our firm did not have any communications with Plaintiffs, Plaintiffs’ service agent,

            21       or Plaintiffs’ counsel regarding the Central Authority’s February 25 letter until March 4, 2020.

            22              I declare under penalty of perjury under the laws of the United States of America that the

            23       foregoing is true and correct. Executed on March 20, 2020, in Tel Aviv, Israel.

            24

            25                                                       /s/ Yael Riemer
                                                                     Yael Riemer
            26

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  COOLEY LLP
                                                                                               DECLARATION OF YAEL RIEMER
ATTO RNEY S AT LAW
 SAN FRA NCI S CO
                                                                       2.                       CASE NO. 4:19-CV-07123-PJH
